             Case 2:05-cr-00222-JCC         Document 51        Filed 07/15/05     Page 1 of 1



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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                CASE NO. CR05-222C
             v.
12                                                                ORDER
      JUDD H. WEBSTER,
13
                             Defendant.
14

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            This matter comes before the Court on Defendant Judd Webster’s Motion to Substitute Counsel
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     (Dkt. No. 44). The Court hereby GRANTS Defendant’s Motion. Lee Covell shall be allowed to
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     substitute as counsel in the above-referenced cause of action. Paula Deutsch is granted leave to
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     withdraw.
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            SO ORDERED this 15th day of July, 2005.




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                                                          UNITED STATES DISTRICT JUDGE
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26   ORDER – 1
